      Case 8:18-bk-13197-CB             Doc 31 Filed 08/31/18 Entered 08/31/18 15:29:56                           Desc
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 4   wlobel@pszjlaw.com                                                                       AUG 31 2018
 5   [Proposed] Attorneys for
     Debtors and Debtors-in-Possession                                                   CLERK U.S. BANKRUPTCY COURT
                                                                                         Central District of California
 6                                                                                       BY le         DEPUTY CLERK


 7

 8                                     UNITED STATES BANKRUPTCY COURT

 9                    CENTRAL DISTRICT OF CALIFORNIA – SANTA ANA DIVISION

10

11   In re:                                                     Case Nos.: 8:18-bk-13197-CB; 8:18-bk-13198-CB;
                                                                8:18-bk-13199-CB; 8:18-bk-13200-CB; 8:18-bk-
12   RUBY’S SOCAL DINERS, LLC,                                  13201-CB; 8:18-bk-13202-CB
     a Delaware limited liability company, et al.,1
13                                                              Chapter 11
                      Debtors and Debtors-in
14   Possession,
                                                                ORDER GRANTING MOTION FOR ORDER
15   Affects:                                                   PURSUANT TO 11 U.S.C. §§ 105(A) AND 366:
                                                                (I) PROHIBITING UTILITY COMPANIES
16       All Debtors                                            FROM ALTERING, REFUSING, OR
                                                                DISCONTINUING SERVICE,
17       RUBY’S SOCAL DINERS, LLC, ONLY                         (II) DETERMINING ADEQUATE
                                                                ASSURANCE OF PAYMENT FOR FUTURE
18                                                              UTILITY SERVICES, and
         RUBY’S QUALITY DINERS, LLC,                            (III) ESTABLISHING PROCEDURES FOR
19                                                              DETERMINING ADEQUATE ASSURANCE
     ONLY                                                       OF PAYMENT
20
         RUBY’S HUNTINGTON BEACH, LTD.,
21                                                               Date:    August 31, 2018
                                                                 Time:    10:00 a.m.
22   ONLY                                                        Courtroom 5D
                                                                 Address: 411 West Fourth Street
23       RUBY’S LAGUNA HILLS, LTD. ONLY                                   Santa Ana, CA 92701
24       RUBY’S OCEANSIDE, LTD., ONLY
25       RUBY’S PALM SPRINGS, LTD., ONLY
26
27
     1
      The last four digits of the Debtors’ federal tax identification numbers are as follows: Ruby’s SoCal Diners, LLC (9782);
28   Ruby’s Quality Diners, LLC (1539); Ruby’s Huntington Beach, Ltd. (1331); Ruby’s Laguna Hills, Ltd. (6603); Ruby’s
     Oceanside, Ltd. (9104); and Ruby Palm Springs, Ltd. (9627).

                                                                  1
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 1          A hearing was held on August 31, 2018, at 10:00 a.m. before the Honorable Catherine E. Bauer,

 2   United States Bankruptcy Judge for the Central District of California, in Courtroom 5D located at 411

 3   West Fourth St., Santa Ana, CA, on Debtors’ Motion for Order Pursuant to 11 U.S.C. §§ 105(a) and

 4   366: (I) Prohibiting Utility Companies from Altering, Refusing, or Discontinuing Service, (II)

 5   Determining Adequate Assurance of Payment for Future Utility Services, and (III) Establishing

 6   Procedures for Determining Adequate Assurance of Payment filed August 30, 2018 as Docket #11

 7   (“Motion). Appearances were made as noted on the record.

 8         The Court having read and considered the Motion, heard the statements of counsel, noted the lack

 9   of opposition and with good cause shown,

10           IT IS ORDERED:

11           1. The Motion is granted.

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24         Date: August 31, 2018

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